            Case 1:22-cr-00334-JEB Document 22 Filed 11/09/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
                                 :
 UNITED STATES OF AMERICA        : CRIMINAL NO: 22-CR-334 (JEB)
                                 :
      v.                         :
                                 :
 MIKHAIL SLYE,                   : VIOLATIONS:
                                 :   18 U.S.C. § 111(a)(1)
         Defendant.              : (Assaulting, Resisting, or Impeding
                                 : Certain Officers)


                                    SUPERSEDING
                                    INFORMATION

          The United States Attorney charges:
                                             COUNT ONE

          On or about January 6, 2021, within the District of Columbia, MIKHAIL SLYE did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member of

the uniformed services), that is, D.T., an officer from the United States Capitol Police, while such

person was engaged in and on account of the performance of official duties, and where the acts in

violation of this section involve physical contact with the victim and the intent to commit another

felony.

          (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
          States Code, Section 111(a)(1))


                                               MATTHEW M. GRAVES
                                               United States Attorney
                                               DC Bar No. 481052

                                       By:     /s/ Andrew J. Tessman
                                               ANDREW J. TESSMAN
                                               Assistant United States Attorney
                                               District of Columbia – Detailee
                                               W.V. Bar No. 13734
Case 1:22-cr-00334-JEB Document 22 Filed 11/09/22 Page 2 of 2




                           601 D Street, NW
                           Washington, D.C. 20001
                           (304) 340-2334
                           Andrew.Tessman@usdoj.gov
